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                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
CIBC Bank USA f/k/a The Private Bank and            )
Trust Company, as Administrative Agent,             )
                                                    )
                      Plaintiff,                    )    Civil Action No. 18-cv-3964
                                                    )
              v.                                    )
                                                    )    Judge John Z. Lee
JH Portfolio Debt Equities, LLC; JH Portfolio       )
Debt Equities 2, LLC; JH Portfolio Debt             )    Magistrate Judge Daniel G. Martin
Equities 4, LLC; and JH Reviver LLC,                )
                                                    )
              Defendants.                           )
                 DEFENDANTS’ SURREPLY IN OPPOSITION TO
            PLAINTIFF’S MOTION FOR ORDER APPOINTING RECEIVER

       Pursuant to the Court’s Order of July 31, 2018 (Doc. 37), Defendants JH Portfolio Debt

Equities, LLC, JH Portfolio Debt Equities 2, LLC, JH Portfolio Debt Equities 4, LLC, and JH

Reviver LLC (“JH” or “Defendants”), respectfully submit the following surreply. 1 For the reasons

stated in JH’s Response (“Response,” Doc. 26) and below, CIBC has not met its burden to establish

an urgent necessity for the extraordinary remedy of appointing a receiver, let alone one with the

power to conduct a pre-judgment liquidation of the assets of JH. The Court should deny CIBC’s

Motion for Order Appointing Receiver (Doc. 8). 2

1.     JH’s business – and thus the status quo – is to collect on the accounts included in the
       debt portfolios that serve as collateral.

       In its Reply (“Reply,” Doc. 27), CIBC argues that Defendants’ use of collateral is a change

from the status quo. (Reply at 5-7; see also Rebuttal Declaration of Matthew Berman (“Berman

Rebuttal Dec.”) (Doc. 27-1) at ¶ 6.) However, this misstates the status quo. As CIBC alleges, JH


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       JH also has submitted the declaration of Matthew Kvarda and the supplemental
declarations of Paul Barkes, Keri Krisan, and Anthony Riggio.
2
       This surreply incorporates the defined terms from the Response and supporting materials.
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is in the business of purchasing portfolios of loan obligations at a discount to the face value and

generating profits by deploying a proprietary collections process to recover the amounts due on

the accounts. (See Complaint (Doc. 1) at ¶ 7.). Thus, the status quo for JH is to continue its normal

business of using the collateral – which for JH means collecting on the accounts in its debt

portfolios. It is CIBC that seeks to disrupt the status quo through the appointment of a receiver that

would sell off JH’s operating assets, i.e., the debt portfolios. (See Proposed Order Appointing

Receiver (Doc. 8-4), § VIII, Managing Assets.)

       With respect to the Defendants’ use of cash collateral, CIBC ignores that a significant

portion of the cash has been used to satisfy the monthly non-default interest payment on the debt

accrued under the Credit Agreement. (See Supplemental Declaration of Anthony Riggio (“Riggio

Supp. Dec.”) at ¶ 4.) The JH Entities were current on these payments through July 13, 2018. (Id.)

The remaining monthly spending covers JH’s operating expenses, including expenses necessary

to execute JH’s business plan. (Id.)

2.     The value of JH’s Debt Portfolios (i.e., the collateral) would be severely diminished
       in the hands of a liquidating receiver.

       CIBC does not deny that it seeks the appointment of a receiver with the power to sell all of

Defendants’ operating assets, but refuses to acknowledge the obvious resulting harm to Defendants

and third parties from such a liquidation. (Reply at 9; see also Response at 10-12.) CIBC knows

that the debt portfolios of JH are far more valuable if they continue to be used in the manner

intended under the Credit Agreement – with JH collecting on the accounts included in the debt

portfolios. Collecting on the debt portfolios is consistent with the use of collateral as contemplated

under the Credit Agreement. Liquidation is an extreme departure therefrom, and will result in a

lower recovery for all.




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        CIBC knows this. CIBC engaged an expert to value the JH debt portfolios. (See Riggio

Supp. Dec. at ¶ 7.) JH requested CIBC’s consent to use the expert valuation in this action, including

offering to enter into a protective order to preserve the confidentiality of the valuation, but CIBC

refused. (Id.) The only logical explanation for CIBC’s refusal is that the valuation demonstrates

the value of the debt portfolios would be severely impaired if liquidated. The debt portfolios will

yield materially greater proceeds if JH continues to employ its current collection strategy and will

be even more valuable if JH continues with its plan to implement a more aggressive collection

strategy. (Id. at ¶¶ 5-7.)

        In addition, JH has engaged an investment bank, Houlihan Lokey, to develop a plan for a

potential acquisition, recapitalization, refinancing or other transaction that would retire the CIBC

debt facility. (See Declaration of Matthew E. Kvarda (“Kvarda Dec.”) at ¶ 11.)

        The JH Entities are significantly more likely to secure financing or investment to replace

the CIBC debt (as JH has been working to accomplish) if JH continues its normal business of

converting the debt portfolios into revenue. Putting a receiver in control of the debt portfolios

would prevent JH from obtaining substitute financing. (See Riggio Supp. Dec. at ¶ 8.)

3.      JH moved its bank accounts in response to CIBC’s breach of contract.

        CIBC complains that JH moved its bank accounts from CIBC to another financial

institution. (Reply at 4; Berman Rebuttal Dec. at ¶¶ 7-10.) JH disclosed these new accounts to

CIBC and addressed them in the Response. (See Barkes Dec. (Doc. 26-34) at ¶¶ 3-7.) As further

explanation, the new accounts were also necessitated by CIBC’s breach of the parties’ Deposit

Account Control Agreement (“DACA”). (See Answer, Affirmative Defenses, and Counterclaims

(Doc. 31,) at 28-31, ¶¶ 1-20; see, generally, Supplemental Declaration of Keri Krisan (“Krisan

Supp. Dec.”).)




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        The DACA governs the management of cash in certain JH accounts and was established in

connection with the Credit Agreement. (See Doc. 26-30, in part; see DACA, §1.) Under the DACA,

CIBC is contractually required to manage the accounts per the DACA’s terms, including the

instructions of JH. CIBC failed to do this. In breach of CIBC’s obligations under the DACA, CIBC

refused to transfer non-collateral cash to bank accounts not subject to the DACA pursuant to JH’s

directions. On June 6, 2018, in an additional breach of the DACA, and without warning, CIBC

seized and swept $2,444,975.12 of JH’s non-collateral cash. (See Krisan Supp. Dec. at ¶¶ 5-8.)

CIBC knew that this amount was not collateral because JH had been reporting to CIBC the source

of all funds in the accounts on a daily basis. (Id. at ¶ 6.)

        In response to the sweep, Defendants were forced to protect their non-collateral cash by

opening alternate accounts. JH disclosed this protective measure to CIBC, as well as where those

alternative accounts are held, and the daily contents and valuation of those accounts. (See Barkes

Dec. at ¶¶ 3-7; see also Krisan Dec. at ¶ 6.) The actions of JH in this regard have been transparent.

4.      CIBC ignores its contractual legal remedies.

        CIBC continues to argue that it lacks an adequate alternative remedy sufficient to protect

itself in advance of a judgment in the current dispute. (See Reply at 7-8.) However, as explained

in JH’s Response, CIBC bargained for the specific remedy of foreclosure – a remedy it has chosen

not to pursue. (See Response at 10; Security Agreement (Doc. 1-3) §§ 5.2(a) (“Possession and

Assembly of Collateral”) and (b) (“Sale of Collateral”).) In addition to this right of foreclosure,

CIBC is already availing itself of other legal remedies it claims to lack. Buried in note 3 to its

Reply, Plaintiff acknowledges that it has brought claims in Delaware state court to recover the

same monies from JH and certain of its joint venture partners about which it complains in the

instant motion before this Court. (See Reply at 4-5, n.3.)




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5.     The CRO engaged by JH serves the same role as an oversight receiver.

       In its Reply, CIBC argues that the appointment of Matthew Kvarda as Chief Restructuring

Officer is an ineffective measure, lacking in equivalency to the appointment of federal receiver.

(See Reply at 12-13.) As CIBC knows, Mr. Kvarda, a Managing Director with Alvarez & Marsal,

is a highly skilled restructuring professional with over 25 years of experience – he has experience

in the consumer finance sector and has led all aspects of the turnaround and restructuring process

including developing short term cash flow forecasts and long term business plans. (See Kvarda

Dec. at ¶¶ 4-7.) Mr. Kvarda’s role as CRO closely mirrors, if not exceeds, that of the “limited

financial receiver” appointed in JPMorgan Chase Bank, N.A. v. Heritage Nursing Care, Inc., 2007

WL 2608827, *11 (N.D. Ill. Sept. 6, 2007). Mr. Kvarda’s duties include (i) a financial review of

JHPDE, including, but not limited to, the review and assessment of financial information provided

to JHPDE’s creditors, such as CIBC; (ii) the identification and implementation of cost reduction

and operation improvement opportunities; (iii) assisting JHPDE in developing plans and

alternatives for maximizing the Company’s value; and (iv) serving as the principal contact with

JHPDE’s creditors with respect to the Company’s financial and operational matters. (See Kvarda

Dec. at ¶¶ 8-9; see also, Alvarez & Marsal engagement letter (Doc. 26-16) at 1-2.) Mr. Kvarda is

in frequent contact with CIBC concerning issues such as current and projected cash flows,

operational updates, and various potential restructuring alternatives. (See Kvarda Dec. at ¶ 10.)

6.     CIBC mischaracterizes the declarations submitted by JH.

       In section E of the Reply, CIBC mischaracterizes the testimony of Anthony Riggio, Todd

Harrington, Paul Barkes, and Keri Krisan as “admissions.” (See Reply at 9-11.) Because the actual

testimony does not fit the story CIBC seeks to tell, it again resorts to name-calling by arguing that

JH engaged in “manipulation” and “comingling.” (Reply at 9-10.)




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       For example, CIBC portrays the errors in the Borrowing Base calculations – that JH has

worked with CIBC to resolve – as intentional “manipulation.” (See Reply at 9.) CIBC also

continues to characterize the fact that JH previously did not maintain segregated accounts as

“comingling.” (See id. at 10.) CIBC provides no evidence of such bad intent because none exists.

CIBC fails to acknowledge the extensive remedial efforts regarding the borrowing base

calculations. CIBC also fails to acknowledge that JH has now opened segregated accounts. CIBC

exaggerates the evidence to fit the fact patterns of the few cases it cites where a court appointed

an oversight receiver. But the facts here do not warrant the appointment of a receiver, let alone one

with the power to liquidate all of Defendants’ assets.

7.     CIBC mischaracterizes the expenses related to JH’s proposed corporate change.

       In his Rebuttal Declaration, Mr. Berman mischaracterized the nature of $18,466,000 in

expenses paid by JH. (See Berman Rebuttal Dec. at ¶¶ 11-12.) As Mr. Riggio explained in his

initial declaration, beginning in mid-2017, JH and its related entities were contemplating a major

organizational change. (See Riggio Dec. at ¶ 53 (Doc. 26-31).) The change would have transitioned

JH Capital Group Holdings, LLC (“JH Capital”) into a publicly traded entity. As a part of that

process, JH Capital engaged PricewaterhouseCoopers and EY to assist in auditing and accounting

measures for JH Capital and its subsidiaries, including JH. (See Riggio Dec. at ¶ 53).

       In his rebuttal declaration, Mr. Berman asserts that JH paid expenses related to the

abandoned transaction, which Mr. Berman states “was terminated in June 2018.” (Berman Rebuttal

Dec. ¶ 11.) This creates the impression that the expenses were paid in June 2018, i.e. after this

action was filed. They were not. Of the $18,466,000 identified by Mr. Berman as “SPAC-related

expenses” (Berman Rebuttal Dec. ¶ 12) all were paid prior to or in April 2018. (See Krisan Supp.

Dec. at ¶ 12.) The vast majority of this amount – $15,293,000 – was paid in 2017 through February




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2018, before the issues that arose with respect to the calculation of JH’s Borrowing Base. (See

Krisan Supp. Dec. at ¶ 12.)

8.     The balance of harms outweighs the appointment of a receiver.

       CIBC’s briefing does not address the harm to JH and others if a receiver were to be

appointed. As demonstrated in JH’s Response and initial declarations, the imposition of a receiver

would severely and negatively impact JH, its creditors, and joint venture partners. (See Response

at ¶ 11 and declarations cited therein.) In addition, as explained in the supplemental declaration of

Paul Barkes, the appointment of a receiver would be in direct conflict with the rights of Citibank,

N.A., as a lender to JHCG Holdings LLC. (See Supplemental Declaration of Paul Barkes at ¶¶ 3-

10.) Also, CIBC’s proposed order appointing a receiver would prohibit Fortress Credit Corp., as a

lender to JHPDE Finance I, LLC, from exercising remedies with respect to assets pledged under

the related lending agreements and grant the receiver authority over assets excluded from CIBC’s

Security Agreement. (See id. at ¶¶ 11-18.)




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                                         Conclusion

       For the foregoing reasons, Defendants respectfully request that the Court enter an order

denying Plaintiff’s Motion for Order Appointing Receiver.

Dated: August 8, 2018                             Respectfully submitted,


                                                  /s/ Greg Shinall

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                                                  JH Reviver LLC




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                                CERTIFICATE OF SERVICE

        I, Greg Shinall, hereby certify that on August 8, 2018, I caused a true and correct copy of
the foregoing Defendants’ Surreply in Opposition to Plaintiff’s Motion for Order Appointing
Receiver to be served upon the following individuals via ECF Electronic Case Filing:

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                                                     /s/ Greg Shinall
